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ptt A R + FH BG BB
Ministry of Justice, People’s Republic of China

No. 6, Chaoyangmen Nandajie, Chaoyang District, Beijing 100020, China
Tel: +86 1065153113 Fax: +86 10 6515 3144

 

  

To:

United States District Court for the District of Cc uimbig
333 Constitution Ave. N.W. nes pore

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Washington, DC 20001 er = i

The United States

Beijing, April 9, 2012
Your Case. No.: 1: 01-mc-00300
Our Ref. No.: 2012-SXH-29

The International Legal Cooperation Center of the Ministry of Justice of the People’s
Republic of China presents its compliments to the United States District Court for the
District of Columbia.

Regarding the Debbie Walters and Max Walters case, an order issued by Judge
Deborah A. Robinson on 6 March was recently received by the Ministry of Justice of
China. The Chinese side is dissatisfied and firmly opposed to the above-mentioned
order, and expresses its grave concern on the negative consequences that the case
will cause if it continues to develop, and hereby reaffirms that:

1. According to international law, China, as a sovereign state, enjoys sovereign
immunity. Sovereign immunity is a long established principle of international law
based on which, unless a state explicitly waives its jurisdictional immunity, no
court in another state shall accept and hear any lawsuit against the former, nor
shall the court exercises any execution against the property of that state, China is
by no means related to the case, and has never accepted the jurisdiction of US
courts. Neither has China ever accepted the so-called default judgment against it
entered by the US court in 1996. Any attempt of the plaintiffs to execute the
state property of China is against the international law. The order issued by the
United States District Court for the District of Columbia violates the sovereign
immunity of China.

2. The Chinese Ambassador to the United States enjoys the diplomatic privileges
and immunities and is exempt for any judicial services, including the service on
the third party via him. The above-mentioned order constitutes a serious
violation of the diplomatic privileges and immunities of the Chinese Ambassador
and may disrupt the normal performance of this duty. The Chinese side is
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strongly opposed to it.

3. According to the reservation China has made when it acceded to the Hague
Service Convention, it is illegal and invalid for any party or court of a foreign
country to serve the judicial documents by mailing them into China.

Please be noted that the above-mentioned order sent by the counsel of the
petitioners has been rejected and returned to the counsel by the Ministry. Attached
please find a copy of the letter issued by the Ministry to the law office of Charles H.
Camp.

The International Legal Cooperation Center of the Ministry of Justice of the People’s
Republic of China avails itself of this opportunity to renew to the United States
District Court for the District of Columbia the assurance of its highest consideration.

 

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Ministry $f Justi hdlbeo le’ Republic of China
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Beying, April 9, 2012
2012-SXH-28

LAW OFFICE OF CHARLES H. CAMP
1319 Eighteenth street, N.W.,
Washington, D.C. 20036

ULS.A.

The Request for service of documents of the above printed law office has been
received.

It is regretful to return the request because it does not comply with the provisions of
the Hague Convention on the Service abroad of Judicial and Extrajudicial Documents
in Civil or Commercial Matters (hereinafter referred to as the Convention), and the
Declaration made by the People's Republic of China at the time of its accession. The
specific reasons for the return are as follows (the item/items below which is/are
marked with x):

( ) The address of the person to be served upon ts not sufficiently provided
(Paragraph 2 of Article 1). "
( ) The form of the Request does not conform to the model annexed to the
Convention (Paragraph 1 of Article 3).
( ) The terms in the Request are not written in the languages specified by the
Convention (Article 7).
( ) The Request and the documents to be served are not furnished in duplicate
(Paragraph 2 of Article 3).
( ) The documents to be served are not written in, or translated into Chinese
(Article 5).
( ) The case relating to the request does not fall into the scope of the Convention
(Paragraph 1 of Article 1),
(X) The execution of the request would infringe the sovereignty or security of the
People's Republic of China (Article 13).
(_ ) Others:

 

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